UNITED STATES DISTRICT COURT FILED |

US. DISTRICT COURT
MIDD! F merectT OF TENN.

FOR THE MIDDLE DISTRICT OF TENNESSEE
JAN 12 2011

NASHVILLE DIVISION

UNITED STATES OF AMERICA

[1] ROBERT PORTER
a/k/a DA HERO a/k/a POOH
[2] DONNIE PATTERSON
a/k/a BIG DONNIE
[3] BRIAN VANCE
a/k/a BIRD a/k/a BIRDMAN
[4] DOMINIQUE SIMONS
a/k/a DISCO
[5] JOSHUA D. DIX
a/k/a GRINDHARD
[6] SHATIKA DIX
[7] TRAVIS HODGES
a/k/a T-BONE
[8] GREGORY BROOKS
[9] DEONIS JELKS
[10] QUINICE CROSS
[11] LAMONT COTTON
[12] MICHAEL BROWN
[13] DONALD EWING
a/k/a DINO
[14] DEMETRIUS DUNCAN
a/k/a WHIRLEY
[i5] KRONSKI HOWARD
a/k/a YOUNG MONEY a/k/a UNITS
[16] JERRY DINKINS
[17] ROBERT LIGON
a/k/a BOOSIE
[18] DONTRELL PITTMAN
a/k/aCT
[19] CHARLES MOUNT
a/k/a C-RED
[20] JONATHAN JOHNSON

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NO. _3:11-00012

 

18 U.S.C. §2
21 U.S.C. § 841(a)(1)
21 U.S.C. § 846

21 U.S.C. § 856(a)(2)

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[21] CORNEL OLIVER
a/k/a LIL C
[22] ALTO PARNELL
a/k/a AL-PISTOL a/k/a AP.
[23] XAVIER PARNELL
a/k/a CHIEF
[24] ANTHONY SHELTON
a/k/a PETEY a/k/a SLIM
[25] JAMES FARLEY, JR.
a/k/a BABY JAMES
[26] DEDRIC SHINE
a/k/a MOOK
[27] CHRIS YOUNG
a/k/a SOLDIER C
[28] DMITRI JOHNSON

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INDICTMENT

COUNT ONE

THE GRAND JURY CHARGES:

Between in or around June 2010 to in or around December 2010, in the Middle District of
Tennessee and elsewhere, [1] ROBERT PORTER a/k/a “DA HERO” a/k/a “POOH; [2]
DONNIE PATTERSON a/k/a BIG DONNIE; [3] BRIAN VANCE a/k/a BIRD a/k/a
BIRDMAN; [4] DOMINIQUE SIMONS a/k/a DISCO; [5] JOSHUA D. DIX a/k/a
GRINDHARD; [6] SHATIKA DIX; [7] TRAVIS HODGES a/k/a T-BONE; [8] GREGORY
BROOKS; [9] DEONIS JELKS; [10] QUINICE CROSS; [11] LAMONT COTTON; [12]
MICHAEL BROWN; [13] DONALD EWING a/k/a DINO; [14] DEMETRIUS DUNCAN
a/k/ia WHIRLEY; [15] KRONSKI HOWARD a/k/a YOUNG MONEY a/k/a UNITS; [16]
JERRY DINKINS; [17] ROBERT LIGON a/k/a BOOSIE; [18] DONTRELL PITTMAN

a/k/a CT; [19] CHARLES MOUNT a/k/a C-RED; [20] JONATHAN JOHNSON; [21]

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CORNEL OLIVER a/k/a LIL C; [22] ALTO PARNELL a/k/a AL-PISTOL a/k/a A.P.; [23]
XAVIER PARNELL a/k/a CHIEF; [24] ANTHONY SHELTON a/k/a PETEY a/k/a SLIM;
[25] JAMES FARLEY, JR. a/k/a BABY JAMES; [26] DEDRIC SHINE a/k/a MOOK; [27]
CHRIS YOUNG a/k/a SOLDIER C; and [28] DMITRI JOHNSON did combine, conspire,
confederate, and agree with each other and with others known and unknown to the Grand Jury, to
knowingly and intentionally distribute and possess with the intent to distribute controlled
substances, including 500 grams or more of a mixture and substance containing a detectable
amount of cocaine, and 280 grams or more of a mixture and substance containing a detectable
amount of cocaine base, that is crack cocaine, Schedule II controlled substances, in violation of
Title 21, United States Code, Section 841(a)(1).

In violation of Title 21, United States Code, Section 846 and Title 18, United States
Code, Section 2.

COUNT TWO

THE GRAND JURY FURTHER CHARGES:

On or about September 15, 2010, in the Middle District of Tennessee and elsewhere, [3]
BRIAN VANCE a/k/a BIRD a/k/a BIRDMAN, [18] DONTRELL PITTMAN a/k/a CT, [19]
CHARLES MOUNT a/k/a C-RED, and [20] JONATHAN JOHNSON did unlawfully,
knowingly and intentionally possess with the intent to distribute twenty eight grams or more of a
mixture and substance containing a detectable amount of cocaine base, that is, crack cocaine, a
Schedule I controlled substance.

In violation of Title 21, United States Code, Section 841(a)(1) and Title 18, United States

Code, Section 2.

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COUNT THREE

THE GRAND JURY FURTHER CHARGES:

On or about December 10, 2010, in the Middle District of Tennessee and elsewhere, [1]
ROBERT PORTER a/k/a “DA HERO” a/k/a “POOH” did unlawfully, knowingly, and
intentionally possess with the intent to distribute a quantity of a mixture and substance containing
a detectable amount of cocaine and twenty eight grams or more of a mixture and substance
containing a detectable amount of cocaine base, that is, crack cocaine, Schedule II controlled
substances.

In violation of Title 21, United States Code, Section 841(a)(1) and Title 18, United States
Code, Section 2.

COUNT FOUR

THE GRAND JURY FURTHER CHARGES:

On or about December 10, 2010, in the Middle District of Tennessee, [28] DMITRI
JOHNSON , while controlling a place generally known as 516 Pointer Lane, Clarksville,
Tennessee, as an occupant, knowingly and intentionally made available for use, with or without
compensation, said place for the purpose of unlawfully manufacturing a controlled substance.

In violation of Title 21, United States Code, Section 856(a)(2).

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COUNT FIVE

THE GRAND JURY FURTHER CHARGES:

On or about December 11, 2010, in the Middle District of Tennessee and elsewhere, [11]
LAMONT COTTON did unlawfully, knowingly, and intentionally possess with the intent to
distribute a quantity of a mixture and substance containing a detectable amount of cocaine, a
Schedule II controlled substance.

In violation of Title 21, United States Code, Section 841(a)(1) and Title 18, United States
Code, Section 2.

COUNT SIX

THE GRAND JURY FURTHER CHARGES:

On or about December 11, 2010, in the Middle District of Tennessee and elsewhere, [7]
TRAVIS HODGES did unlawfully, knowingly, and intentionally possess with the intent to
distribute 500 grams or more of a mixture and substance containing a detectable amount of
cocaine, a Schedule II controlled substance.

In violation of Title 21, United States Code, Section 841(a)(1) and Title 18, United States

Code, Section 2.

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JNITED|STATES ATTORNEY

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“M. KOSHY
ASSISTANT UNITED STATES ATTORNEY

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